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                  IN THE UNITED STATES FEDERAL COURT IN Tc
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                            W ESTERN D ISTR IC T O F V IRG IN IA                     FILED
                                                                                81#2 C 8 2215
                                                                              JU    C. D EY,CLERK
                                                                             Bv. :
                                                                                 /DEPUTY
                                                                                   - CLERK
M cL aren Corporation,

              Plaintiffs,

V.                                                         CaseNo. i '
                                                                     .Iq z ùoooo k
Sensenich Propeller Service,lnc.


               D efendant
Serve: C Ray H ershey
       519 A irportRoad
       Lititz,PA 17543

Serve: Joseph R .M aus
       519AirportRoad
       Lititz,PA 17543

                                        C O M PLA INT



       Plaintiff,RogerBeck on behalfofM cLaren Corporation,by counsel,allegeasfolloWs

fortheircom plaintagainstSensenich Propeller Service,lnc.,D efendant'
                                                                    .

1. Plaintiffisa Virginia Corporation w ith its principalplace ofbusiness located G oode,Virginia

   at8806 CharlemontRoad,Goode,Virginia.

2. Defendantisa Corporation w ith itsprihcipalplace ofbusiness loèated in Lilitz,Pelm sylvania.

3. The D efendantserviced,for Plaintiff,a propeller on a Beech Bonanza 1735,N 3340C Plane.

4.The propellerw asreleased from m aintenance on January 11,2018.
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    5.Plaintiffretrieved thepropellerfrom Defendant'sprincipalplaceofbusinesson January 11,
'
2018andtook itto CanandaiguaAirServiceto beinstalled.Theplanewasretrieved on Feb-

ruary 27,2018. Approxim ately 10 m inutes'afterdeparture, whilein airand onrouteback to

VirginiaPlaintiffexperienced an inflightmechaniéalemergenèythatresulted in an em ergency

landing atHarnellM unicipalAirport,Hornell,N.Y.

    6.Upon landing thepröpellerwasinspectedby RogerBeck,Pilotand FAA Certified Airfram e

andpowerplantmechanic(license#3309153).Hediscoveredthenutandboltdesignedtohold
Retaining Iting Pal4//r 00-308had loosened and fallen out.Thiscaused lossofpropellerpitch

controlandresulted in thepropelleradvancing to f'u11courseposition.

7.Thisw ascaused by a boltand nutseparating from the retaining ring .

    8.Plaintiff'sadditionalexpensedueto faulty repairsduring and afterrepairsdirectly relatedto

    Sensenich'sServiceis$31,110.94.

                                       Jurisdiction and Venue

.   12.TheUnited StatesFederalCourtfortheW esternDistrictofVirginiahaspersonaljurisdiction
    overthisluatterbecausePlaintiffisa company incol-
                                                    porated inthe Com monwealth ofVirginia

andhashisprincipalplaceofbusinesshere.

    13.The United StatesFederalCourtforthe W estern D istrictofVirginia hasexclusive personal

jurisdictionoverthismatterbecauseofRule4(k)oftheFederalRulesöfCivilProcedure.
                                         .
                                                                                   '




    14.TheUnited StatesFederalCourtin theW estern DistrictofVirginiaisthepreferred venuedue

to the aircraftand contracting corporation being located in Lynchburg,VA .

                                   C quntI - Breach ofC ontract

    15.Plaintiffsrepeatand re-allegeparagraphs 1-14 asifsetforth f'ully herein.
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    16.Plainti#andDefendanthadacontractthatDefendantwouldprôvidepropellermaintenance
    on Plaintiff'sBeech Bonanza1735,N 3340C Planein accordancewiththeBeechcraftOperations

    and service instnlctions,Overhaullnstructions,lllistrated PartsBreakdown,Propellers215.

    FAA-DER Approved M anual//1125187 Published 03/01/1958 and revised 11/16/1962.
                                                                     '
.



    17.Upon examination ofthepartsaftertheinflightmeçhanicalem ergency itwasdiscovered that

    thenutand boltwerenotofthe Beechcraftpartspeciication and appeared tobe used parts.

    18.Defendantbreached thatcontractwhen they failed toservicetheplaneusing therequired

    ElasticLockStopNut(FiberlockNutPart//AN365-524 NUT,AN520-10-18 SCREW)
    and H ex H ead SteelBoltas required by the BeechcraftM anualrelating to m aintènance.

    19.Defendant'sbreach directly resulted in damagestothePlaintiffintheam ountpf$31,110.94

                                        Count11 - N egligence

    20.Plaintiffsrepeatand reallege paragraphs 1-19 asifsetforth fully herein.

    21.Defendantow ed a duty to Plaintiffto provide m aintenance services on hisplane to the speci-

.   tications as outlined in the BeechcraftM anual.

    22.D efendantusçd parts thatdid notm eetthe required specificationsby the BeechcraftM anual

    on the Plaintiff'splane.

    23.AsadirectresultofDefendantnotusinjtherequired partsasspecified in the Beechcraft

    M anual,Plaintiffexperienced an inflightmechapicalemergency thatrequired him to engage in

    an em ergency landing and endangered his life.

    24. Plaintiffincul-
                      red damagesin the ofamountof$31,110.94 to repairthepropellerafterDe-

    fendantbreached theirduty to service the Plaintiff'splanew ith therequired parts.

                CountIlI - Failureto Provide ServicesIn a W orkm an L ike M anner
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25.Plainiiffsrepeatand reallege paragraphs 1-24.asifsetforth fully herein'.

26.Defendantisin the businessofproviding propellerm aintenance servicesin accordancewith

m anufacturer and FAA approved m aintenancer'sprocedures. The scope oftheiroperation ranges

from generalaviation aircraftto corporate com m uteraircraft.

27.Defendanthasaduty toprovidesuch servicesin accordancewith M anufacturerand FAA

service procedures and approved parts..

28.DefendantisalicepsedFAA repairstation#QV9R194N,locatedat519AirportRoad,Lititz,
PA 17543.Assuch Defendanthasmadethecommitm enttousethem anufacturerequiredm ate-

rialsto service and repairpropellers. They did not.

29. Plaintiffpurchased and D efendanthad in itspossession the required partsforPlaintiff's

planebutdidnotusethem . Plaintiffprovided to Defendantaused propellertobeserviced.

Thispropellerwasrejectedand shippedbacktothepartywhom Plaintiffpurchaseditf'
                                                                           rom with
outPlaintiff'sperm ission. Subsequently thispartwassold bythepartsproviderwithoutcom-

pensation to the Plaintiff.

30.AsaresultofDefendant'sactionsand notproviding servicesin aworkm an m afmerthe

Plaintiffsuffered dam agesin theam ountof$31,110.94.



                                          JUR Y TRIA L

A Jul'y TrialisD em anded.



                                   PR AY ER FO R R EL IEF

       THEREFOM ,PlaintiffsdemandDefendaùtpay$31,110.94inreimbursemept,and
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compensateplaintiffforattorneysfeesand expensesand forsuch otherreliefasthiscourtm ay

deem justandproper.


RpgerB eck



B                       t                                        ?)n) 7-
                                                            o-t- ,     r
                                                                       ,
              ounsel


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